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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                            3/19/2020



   Claudio Anzalone,

                        Plaintiff,                                 19-cv-6696 (AJN)

                –v–                                                     ORDER

  The Government of the Republic of Armenia, et al.,

                        Defendants.



ALISON J. NATHAN, District Judge:

       As noted in the Court’s previous Order, Dkt. No. 24, all scheduled conferences in this

matter have been adjourned.

       SO ORDERED.

               19 2020
 Dated: March _____,
        New York, New York



                                                ____________________________________
                                                          ALISON J. NATHAN
                                                        United States District Judge




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